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                    Exhibit 1
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March 30, 2022

Hello Everyone,

There are some people who you meet for a very short time, but they make a lifelong impression on you.
Our colleague Ryan Masi was one such person. Even though Ryan was on the PharmaACE and BMS
teams for only about six months, he impressed colleagues from both the places. Ryan had a stellar
reputation, outstanding Excel modeling abilities and a strong work ethic. We unfortunately lost Ryan in
September 2021.

To honor the memory of Ryan, the “Ryan Masi Excellence Award” was introduced last year. All new
joiners who perform exceptionally well within 6 months of their joining are eligible for this award. It
gives me great pleasure to announce the winners of the Ryan Masi Excellence Award 2021

Emily Gelormino - Onshore
Mitesh Bhansali - Offshore
Kritya Raghav - Offshore
Abhinandan Singh – Offshore

Congratulations to all the winners. This award is the testament to your hard work and dedication. We
hope to see you continue to grow and evolve in PharmaACE.

         Thanks
         Ashima Kumar
         Head Training & Development and Corporate Communication | PharmaACE| M +91 74000 76324
         T +91 20 6799 2999 | www.PharmaACE.com
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                    Exhibit 2
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                    Exhibit 3
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                    Exhibit 4
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